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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division

Derrick Vincent Redd,
      Petitioner,

V.                                                                    l:97-cr-006-AJT-l


United States of America,
      Respondent.

                                              ORDER


       Derrick Vincent Redd,a federal inmate proceeding pro          filed a pleading styled Motion

of Coram Nobis. Dkt. No. 284. At best, the pleading is difficult to follow; however, it

appears petitioner is challenging the lawfulness of his convictions of armed bank robbery,

attempted bank robbery, and use ofa firearm during a crime of violence, as well as his sentence.^

       Coram nobis is an extraordinary remedy that is available only under
       circumstances compelling reliefin order to achieve justice. United States v.
       Morgan. 346 U.S. 502,512-13, 74 S.Ct. 247,98 L.Ed. 248(1954). To obtain
       coram nobis relief, the petitioner must satisfy "four essential prerequisites."
       FBereano v. United States. 706 F.3d 568,576(4th Cir. 2013)]. First,"a more
       usual remedy(such as habeas corpus) must be unavailable." Id Second, there
       must be a "valid basis" for the petitioner having not attacked her conviction
       earlier. Id Third,"the consequences flowing to the petitioner from [her]
       convictions must be sufficiently adverse to satisfy Article Ill's case or
       controversy requirement." Id Fourth and finally,"the error that is shown must
       be ofthe most fundamental character." Id

Colon V. United States. 708 F. App'x 125(4th Cir.l. cert, denied. 138 S. Ct. 2612(2018)(certain

alterations in original). Petitioner is currently in custody, and therefore, he is able to seek

habeas relief. Because a more usual remedy is available, relief pursuant to a writ ofcoram

nobis is unavailable to petitioner, and this motion will be liberally construed as a subsequent §



      'Petitioner also pled guilty to separate counts ofarmed bank robbery and use ofa
firearm during a crime of violence.
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